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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT             November 21, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

 LUIS CASTANEDA                           §
                                          §
          Plaintiff,                      §
                                          §
 vs.                                      §        CIVIL ACTION NO. 4:23-cv-03600
                                          §
 U.S. BANK TRUST, N.A.                    §
                                          §
          Defendant.
                                          §
                                          §



        ORDER GRANTING UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

        After having considered the unopposed motion by Defendant to allow

Andre Johnson to withdraw as counsel in this matter,

        The Court ORDERS that such motion be, and is hereby, granted, and that

Andre Johnson be withdrawn as counsel for Defendants in this matter. The

Court DIRECTS the Clerk of Court to terminate Johnson from the docket so that

he no longer receives electronic notifications from the Court relating to this

action.

                 November 21
        SIGNED _______________, 2023.




                                              U.S. District Judge




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